 Case 3:21-cv-00881-X Document 194 Filed 02/23/24     Page 1 of 4 PageID 70404



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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
 HIGHLAND CAPITAL                    §
 MANAGEMENT, L.P.                    §
                                     §
         Plaintiff.                  § Case No. 3:21-cv-00881-X
 vs.                                 §
                                     § (Consolidated with 3:21-cv-00880-X,
 HIGHLAND CAPITAL                    § 3:21-cv-01010-X, 3:21-cv-01378-X, 3:21-
 MANAGEMENT FUND ADVISORS,           § cv-01379-X)
 L.P. et al.,                        §
                                     §
 Defendants.                         §



 HUNTER MOUNTAIN INVESTMENT TRUST’S OBJECTION AND MOTION TO
    STRIKE HIGHLAND CAPITAL MANAGEMENT, L.P.’S SUPPLEMENTAL
  APPENDIX AND SELECTED PORTIONS OF THE REPLY IN SUPPORT OF ITS
   MOTION TO DEEM THE DONDERO ENTITIES VEXATIOUS LITIGANTS
                    AND FOR RELATED RELIEF
 Case 3:21-cv-00881-X Document 194 Filed 02/23/24                Page 2 of 4 PageID 70405



       Hunter Mountain Investment Trust (“HMIT”) files this objection and motion

(“Motion”) to (a) strike Highland Capital Management, L.P.’s (“HCM”) Supplemental

Appendix and Declaration of Gregory V. Demo [Dkt. 190] (“Supplemental Appendix”) and

selected portions of HCM’s Reply [Dkt. 189] in Support of its Motion to Deem the Dondero

Entities Vexatious Litigants and for Related Relief (“HCM’s Motion” or “Motion”) (Dkt.

136), or, (b) alternatively, for leave to file a sur-reply not to exceed ten (10) pages to provide

HMIT an opportunity to fully respond to HCM’s new arguments.

                              I.     RELIEF REQUESTED

       1.      HMIT requests that the Court enter an order substantially in the form

annexed hereto as Exhibit A (the “Proposed Order”) (a) striking HCM’s Supplemental

Appendix [Dkt. 190] and selected portions of HCM’s Reply [Dkt. 189] in Support of

HCM’s Motion, or, (b) alternatively, granting HMIT leave to file a sur-reply not to exceed

ten (10) pages to provide HMIT an opportunity to fully respond to HCM’s new

arguments, (c) grant HMIT’s request for an oral hearing; and (d) otherwise deny HCM’s

Motion in its entirety.

       2.      In accordance with Rule 7.1 of the Local Civil Rules of the United States

District Court for the Northern District of Texas (the “Local Rules”), contemporaneously

herewith and in support of this Motion, HMIT is filing its Brief (“Brief”) in Support of

its Objection and Motion to Stike HCM’s Supplemental Appendix and Declaration of




                                                2
 Case 3:21-cv-00881-X Document 194 Filed 02/23/24           Page 3 of 4 PageID 70406



Gregory V. Demo and selected portions of HCM’s Reply in Support of its Motion to

Deem the Dondero Entities Vexatious Litigants and for Related Relief.

      WHEREFORE, HMIT respectfully requests that the Court (a) grant the Motion (i)

striking HCM’s Supplemental Appendix and selected portions of HCM’s Reply in

Support of HCM’s Motion, or, (ii) alternatively, granting HMIT leave to file a sur-reply

in response to the Supplemental Appendix [Dkt. 190] and selected portions of HCM’s

Reply [Dkt. 189] not to exceed ten (10) pages to provide HMIT an opportunity to fully

respond to HCM’s new arguments; and (b) grant HMIT’s request for an oral hearing; (c)

otherwise deny HCM’s Motion in its entirety; and (d) grant HMIT all such further relief

to which HMIT may be justly entitled.

Dated: February 23, 2024                Respectfully Submitted,

                                        PARSONS MCENTIRE MCCLEARY PLLC

                                        By: /s/ Sawnie A. McEntire
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                                           3
 Case 3:21-cv-00881-X Document 194 Filed 02/23/24               Page 4 of 4 PageID 70407



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                                                  Attorneys for Hunter Mountain
                                                  Investment Trust

                            CERTIFICATE OF CONFERENCE

       On February 22, 2024, and pursuant to N. D. Texas Local Rule 7.1, I conferred with

opposing counsel, Mr. John A. Morris, regarding the relief requested in this Motion. As a

result of this conference, I received an email dated February 23, 2024, in which opposing

counsel indicated that Highland Capital Management, L.P. (“HCM”) would not oppose

the filing of a sur-reply strictly limited to the specific factual assertions in paragraphs 37

and 38 of HCM’s Reply, provided that the Sur-Reply is filed within 10 days and is limited

to 10 pages, but that if HMIT seeks any different or additional relief HCM opposes the

entirety of the Motion. HMIT is seeking additional and different relief and, accordingly,

this Motion is opposed.

                                           /s/ Roger L. McCleary
                                           Roger L. McCleary

                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 23, 2024, true and correct copies

of this document were electronically served by the Court’s ECF system on parties entitled

to notice thereof.

                                           /s/ Sawnie A. McEntire
                                           Sawnie A. McEntire



                                              4
